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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

  THE SCO GROUP, INC., by and through the
  Chapter 11 Trustee in Bankruptcy, Edward N. Cahn,

            Plaintiff/Counterclaim-Defendant,          ORDER GRANTING STIPULATED
  v.                                                   DISMISSAL OF ALL CLAIMS
  .                                                    WITH PREJUDICE
  INTERNATIONAL BUSINESS MACHINES
  CORPORATION,                                         Civil No.: 2:03-CV-00294-DN

           Defendant/Counterclaim-Plaintiff.           Honorable David Nuffer
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       The Parties have jointly stipulated that all claims and counterclaims in this matter, whether

alleged or not alleged, pleaded or not pleaded, have been settled, compromised, and resolved in

full. Based on that stipulation, all matters of records, and good cause appearing, it is hereby

       ORDERED that all claims and counterclaims in this matter, whether alleged or not alleged,

pleaded or not pleaded, have been settled, compromised, and resolved in full, and are hereby

dismissed with prejudice, on the merits, and the Parties to bear their own respective costs and

expenses, including attorney fees.

       SO ORDERED this ____ day of November 2021.


                                                      By the Court



                                                      ___________________
                                                      Honorable David Nuffer
                                                      U.S. District Court Judge




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